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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

    X CORP.,
                    Plaintiff,

               v.
                                                   Civil Action No. 4:23-cv-01175-O
    MEDIA MATTERS FOR AMERICA,
    et al.,
               Defendants.



           DEFENDANTS’ MOTION TO CERTIFY AN IMMEDIATE APPEAL

        Pursuant to 28 U.S.C. § 1292(b), Defendants Media Matters for America, Eric Hananoki,

and Angelo Carusone move the Court to certify an immediate appeal of the Court’s order denying

Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint, ECF No. 82 (“Order”).

        For the reasons stated in the accompanying Brief in Support, Defendants request that the

Court enter an amended Order indicating that the Order is certified for immediate appeal.1



Dated: September 20, 2024.

Respectfully submitted,
/s/ Andrew LeGrand




1
  The interlocutory-appeal statute requires that certification appear in the order being certified
itself, not in a separate order. See 28 U.S.C. § 1292(b) (requiring that a judge certifying an order
“shall so state in writing in such order” (emphasis added)). Defendants respectfully request that,
in accordance with the statutory provision, the Court amend its original order to indicate it is
certified for immediate appeal. In an abundance of caution, however, based on Defendants'
obligation under LR 7.1(c), Defendants also file herewith a proposed order indicating its intent
and effect of amending the court’s original order denying Defendants’ Motion to Dismiss
Plaintiff’s First Amended Complaint.
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                              CERTIFCATE OF CONFERRAL

       On September 20, 2024, counsel for Defendants conferred with counsel for X Corp. to

obtain their position on this motion. X Corp. opposes the motion.

                                                    /s/ Andrew LeGrand
                                                    Andrew LeGrand


                                CERTIFICATE OF SERVICE

       On September 20, 2024, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                    /s/ Andrew LeGrand
                                                    Andrew LeGrand




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